      Fill in this information to identify the case:

                  SouthFresh Aquaculture, LLC
      Debtor name __________________________________________________________________
                                              Northern District
      United States Bankruptcy Court for the: ______________________             Alabama
                                                                     District of _________
                                                                              (State)                                                     
                                                                                                                                          x Check if this is an
      Case number (If known):   19-70152-JHH
                                _________________________                                                                                      amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
     Double Wheel Farm                                                       Trade Debt            contingent,                                               $83,200.66
1    5111 U.S. Highway 11S                                                                         disputed
     Boligee, AL 35443


     Sysco                                                                   Trade Debt                                                                        34,462.31
2    1390 Enclave Pkwy.
     Houston, TX 77077-2099


     Georgia Pacific Corrugated                                              Trade Debt                                                                        29,728.87
3    405 Maxwell Drive
     Albany, GA 61701


     AB Vista, Inc.                                                          Trade Debt                                                                           26,350
4    150 So Pine Island Rd., Suite 270
     Plantation, FL 33324-2677


     BAADER                                                                  Trade Debt                                                                        22,158.14
5    3086 Paysphere Circle
     Chicago, IL 60674-0030


     Southeastern Refrigeration                                              Trade Debt                                                                        22,052.22
6    310 26th Avenue West
     Birmingham, AL 35204


     ADM Milling                                                             Trade Debt                                                                        21,459.84
7    PO Box 745086
     Atlanta, GA 30374-5086


     Nutra Blend Corporation                                                 Trade Debt                                                                        19,269.68
8    PO Box 202619
     Dallas, TX 75320-2619




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 1
           Case 19-70152-JHH11                   Doc 59      Filed 02/12/19 Entered 02/12/19 16:09:43                                     Desc Main
                                                            Document     Page 1 of 3
    Debtor       SouthFresh Aquaculture, LLC
                 _______________________________________________________                                              19-70152
                                                                                               Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff
     Alabama Power                                                       Trade Debt                                                                         18,523.28
9    600 North 18th Street
     Birmingham, AL 35203


   Lansing Vermont, Inc.                                                 Trade Debt                                                                         18,369.85
10 P.O. Box 741671
   Atlanta, GA 30374


   Total Feeds, Inc.                                                     Trade Debt                                                                         16,762.20
11 PO Box 3090
   Weatherford, TX 76086


   Loren Diller                                                          Trade Debt                                                                         14,587.71
12 1661 County Rd 2
   Gallion, AL 36742


   River City Diesel                                                     Trade Debt                                                                         14,215.39
13 7748 CR #19
   Demopolis, AL 36732


   Gavilon Ingredients, LLC                                              Trade Debt                                                                         13,044.77
14 P.O. Box 74008695
   Chicago, IL 60674-8695


   A la Carte Specialty Foods                                            Trade Debt                                                                         12,000.00
15 501 Louisiana Street
   Westwego, LA 70094-4141


   S&S Farms                                                             Processing Rights                                                                  Unknown
16 PO Box189
   Eutaw, AL 35462


   West Alabama Aqua                                                     Processing Rights                                                                  Unknown
17 2941 Hwy 43
   Eutaw, AL 35462-4054


   Williams Cattle Co.                                                   Processing Rights                                                                  Unknown
18 4892 Co. Rd 12
   Faunsdale, AL 36738-3714


   Mark A. Schmidt                                                       Processing Rights                                                                   Unknown
19 422 Jenkins Bryant Rd
   Newbern, AL 36765-2503


   Southview Farms                                                       Processing Rights                                                                  Unknown
20 12151 Hwy 69
   Greensboro, AL 36744-5610




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 2
             Case 19-70152-JHH11               Doc 59     Filed 02/12/19 Entered 02/12/19 16:09:43                                     Desc Main
                                                         Document     Page 2 of 3
 Fill in this information to identify the case and this filing:


             SouthFresh Aquaculture, LLC
 Debtor Name __________________________________________________________________
                                         Northern
 United States Bankruptcy Court for the: ______________________             Alabama
                                                                District of __________
                                                                               (State)
 Case number (If known):    19-70152-JHH
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:
        As of invoices or documentations received.

             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    2/12/2019
        Executed on ______________                            _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor




                                                                    Justin Funk
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Secretary/CFO
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors

       Case 19-70152-JHH11                     Doc 59       Filed 02/12/19 Entered 02/12/19 16:09:43                               Desc Main
                                                           Document     Page 3 of 3
